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                         Attorneys for Defendant
                    7    Wireless World LLC d/b/a Experts Choice
                    8                               UNITED STATES DISTRICT COURT
                    9                             EASTERN DISTRICT OF CALIFORNIA
                   10    U.S. EQUAL EMPLOYMENT                    CASE NO. 2:19-cv-02187-MCE-CKD
                         OPPORTUNITY COMMISSION,                  Honorable Morrison C. England, Jr
                   11                                             Magistrate Judge Carolyn K. Delaney
                                                  Plaintiff,
                   12
                                                  vs.             DEFENDANT WIRELESS WORLD,
                   13                                             LLC’S ANSWER TO FIRST
                         ELITE WIRELESS GROUP, INC., and          AMENDED COMPLAINT
                   14    WIRELESS WORLD LLC d/b/a
                         EXPERTS CHOICE,
                   15
                                                  Defendant.      Complaint Filed: March 1, 2023
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                    1            Defendant Wireless World, LLC d/b/a Experts Choice (“Wireless”), by and
                    2    through its undersigned counsel of record, hereby sets forth the following Answer
                    3    and Affirmative Defenses to Plaintiff U.S. Equal Employment Opportunity
                    4    Commission’s (“EEOC”) First Amended Complaint for Employment
                    5    Discrimination (“Complaint”). Any allegation, averment, contention, or statement
                    6    in the Complaint not specifically and unequivocally admitted is denied. Wireless
                    7    responds to each of the paragraphs set forth in the Complaint as follows:
                    8                                   NATURE OF THE ACTION
                    9            In response to the first unnumbered paragraph of the Complaint, Wireless
                   10    states that there are no allegations against Wireless contained in the first
                   11    unnumbered paragraph, and as such, no response is required. To the extent a
                   12    response is required, Wireless lacks knowledge or information sufficient to form a
                   13    belief about the truth of the allegations contained in this sentence, and on that basis
                   14    denies them.
                   15            In response to the second unnumbered paragraph of the Complaint, Wireless
                   16    admits that EEOC has named it as a defendant in this lawsuit. With respect to the
                   17    allegation that Wireless became the successor entity to Defendant Elite Wireless,
                   18    Inc. (“Elite”) on or around March 1, 2020, this is a legal conclusion to which no
                   19    response is required. To the extent the allegation does require a response, Wireless
                   20    denies it. With respect to the second sentence of the second unnumbered
                   21    paragraph, Wireless lacks knowledge or information sufficient to form a belief
                   22    about the truth of the allegations contained in this sentence, and on that basis
                   23    denies them.
                   24                                   JURISDICTION AND VENUE
                   25            1. Paragraph 1 of the Complaint contains a legal conclusion to which no
                   26    response is required. To the extent the allegations do require a response, Wireless
                   27    admits the allegations only to the extent that this Court has subject matter
                   28    jurisdiction over the action.
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                    1            2. Paragraph 2 of the Complaint contains a legal conclusion to which no
                    2    response is required. To the extent the allegations do require a response, Wireless
                    3    lacks knowledge or information sufficient to form a belief about the truth of the
                    4    allegations contained in this sentence, and on that basis denies them.
                    5                                          PARTIES
                    6            3. In response to Paragraph 3 of the Complaint, Wireless states that there are
                    7    no allegations against Wireless contained in this paragraph, and as such, no
                    8    response is required. To the extent a response is required, Wireless lacks
                    9    knowledge or information sufficient to form a belief about the truth of the
                   10    allegations contained in this sentence, and on that basis denies them.
                   11            4. In response to Paragraph 4 of the Complaint, Wireless states that there are
                   12    no allegations against Wireless contained in this paragraph, and as such, no
                   13    response is required. To the extent a response is required, Wireless lacks
                   14    knowledge or information sufficient to form a belief about the truth of the
                   15    allegations contained in this sentence, and on that basis denies them.
                   16            5. In response to Paragraph 5 of the Complaint, Wireless states that there are
                   17    no allegations against Wireless contained in this paragraph, and as such, no
                   18    response is required. To the extent a response is required, Wireless lacks
                   19    knowledge or information sufficient to form a belief about the truth of the
                   20    allegations contained in this sentence, and on that basis denies them.
                   21            6. In response to Paragraph 6 of the Complaint, Wireless admits that it
                   22    executed an asset purchase agreement with Elite on or about March 1, 2020. With
                   23    respect to the remaining allegations in Paragraph 6, these are legal conclusions to
                   24    which no response is required. To the extent the remaining allegations in
                   25    Paragraph 6 do require a response, Wireless denies them.
                   26            7. In response to Paragraph 7 of the Complaint, Wireless admits that it
                   27    executed an asset purchase agreement with Elite on or about March 1, 2020. With
                   28    respect to the remaining allegations in Paragraph 7, these are legal conclusions to
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                    1    which no response is required. To the extent the remaining allegations in
                    2    Paragraph 7 do require a response, Wireless denies them.
                    3            8. In response to Paragraph 8 of the Complaint, Wireless states that there are
                    4    no allegations against Wireless contained in this paragraph, and as such, no
                    5    response is required. To the extent a response is required, Wireless lacks
                    6    knowledge or information sufficient to form a belief about the truth of the
                    7    allegations contained in this sentence, and on that basis denies them.
                    8            9. In response to Paragraph 9 of the Complaint, Wireless admits that, as of
                    9    March 1, 2020, it operated stores at certain business addresses and locations where
                   10    Elite operated prior to March 1, 2020.
                   11            10. In response to the first sentence of Paragraph 10 of the Complaint,
                   12    Wireless states that these are legal conclusions to which no response is required.
                   13    To the extent these allegations do require a response, Wireless denies them. With
                   14    respect to the second sentence in Paragraph 10, Wireless admits that it hired certain
                   15    former employees of Elite to work at Wireless’ stores.
                   16            11. In response to Paragraph 11 of the Complaint, Wireless states that the
                   17    allegation that it “purchas[ed] Elite’s business” is a legal conclusion to which no
                   18    response is required. To the extent this allegation does require a response,
                   19    Wireless denies it. In response to the remaining allegations of Paragraph 11,
                   20    Wireless admits that it hired Elite’s shareholders as consultants.
                   21            12. Wireless denies the allegations contained in Paragraph 12 of the
                   22    Complaint.
                   23            13. Paragraph 13 of the Complaint contains legal conclusions to which no
                   24    response is required. To the extent the allegations do require a response, Wireless
                   25    admits only that it was aware of a sex-based discrimination harassment case
                   26    involving Elite and pending before the EEOC on or about March 1, 2020.
                   27            14. In response to Paragraph 14 of the Complaint, Wireless admits only that
                   28    it is a Nevada limited liability company authorized to do business in the State of
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                    1    California. With respect to the remaining allegations in Paragraph 14, Wireless
                    2    denies that it continuously had at least 15 employees since at least March 1, 2020,
                    3    because it had less than 15 employees as of September 1, 2021.
                    4            15. In response to the first sentence of Paragraph 15 of the Complaint,
                    5    Wireless states that these are legal conclusions to which no response is required.
                    6    To the extent these allegations do require a response, Wireless denies them because
                    7    it ceased doing business as of August 31, 2021.
                    8            16. In response to Paragraph 16 of the Complaint, Wireless states that there
                    9    are no allegations against Wireless contained in this paragraph, and as such, no
                   10    response is required. To the extent a response is required, Wireless lacks
                   11    knowledge or information sufficient to form a belief about the truth of the
                   12    allegations contained in this sentence, and on that basis denies them.
                   13            17. Paragraph 17 of the Complaint contains a legal conclusion to which no
                   14    response is required. To the extent these allegations do require a response,
                   15    Wireless denies them.
                   16                                   ADMINISTRATIVE PROCEDURES
                   17            18. In response to Paragraph 18 of the Complaint, Wireless lacks knowledge
                   18    or information sufficient to form a belief about the truth of the allegations
                   19    contained in this sentence, and on that basis denies them.
                   20            19. In response to Paragraph 19 of the Complaint, Wireless lacks knowledge
                   21    or information sufficient to form a belief about the truth of the allegations
                   22    contained in this sentence, and on that basis denies them.
                   23            20. In response to Paragraph 20 of the Complaint, Wireless lacks knowledge
                   24    or information sufficient to form a belief about the truth of the allegations
                   25    contained in this sentence, and on that basis denies them.
                   26            21. In response to Paragraph 21 of the Complaint, Wireless lacks knowledge
                   27    or information sufficient to form a belief about the truth of the allegations
                   28    contained in this sentence, and on that basis denies them.
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                    1            22. In response to Paragraph 22 of the Complaint, Wireless lacks knowledge
                    2    or information sufficient to form a belief about the truth of the allegations
                    3    contained in this sentence, and on that basis denies them.
                    4            23. In response to Paragraph 23 of the Complaint, Wireless lacks knowledge
                    5    or information sufficient to form a belief about the truth of the allegations
                    6    contained in this sentence, and on that basis denies them.
                    7                                   STATEMENT OF CLAIMS
                    8            24. Paragraph 24 of the Complaint contains a legal conclusion to which no
                    9    response is required. To the extent these allegations do require a response,
                   10    Wireless denies them.
                   11            25. In response to Paragraph 25 of the Complaint, Wireless lacks knowledge
                   12    or information sufficient to form a belief about the truth of the allegations
                   13    contained in this sentence, and on that basis denies them.
                   14            26. In response to Paragraph 26 of the Complaint, Wireless lacks knowledge
                   15    or information sufficient to form a belief about the truth of the allegations
                   16    contained in this sentence, and on that basis denies them.
                   17            27. In response to Paragraph 27 of the Complaint, Wireless lacks knowledge
                   18    or information sufficient to form a belief about the truth of the allegations
                   19    contained in this sentence, and on that basis denies them.
                   20            28. In response to Paragraph 28 of the Complaint, Wireless lacks knowledge
                   21    or information sufficient to form a belief about the truth of the allegations
                   22    contained in this sentence, and on that basis denies them.
                   23            29. In response to Paragraph 29 of the Complaint, Wireless lacks knowledge
                   24    or information sufficient to form a belief about the truth of the allegations
                   25    contained in this sentence, and on that basis denies them.
                   26            30. In response to Paragraph 30 of the Complaint, Wireless lacks knowledge
                   27    or information sufficient to form a belief about the truth of the allegations
                   28    contained in this sentence, and on that basis denies them.
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                    1            31. In response to Paragraph 31 of the Complaint, Wireless lacks knowledge
                    2    or information sufficient to form a belief about the truth of the allegations
                    3    contained in this sentence, and on that basis denies them.
                    4            32. In response to Paragraph 32 of the Complaint, Wireless lacks knowledge
                    5    or information sufficient to form a belief about the truth of the allegations
                    6    contained in this sentence, and on that basis denies them.
                    7            33. In response to Paragraph 33 of the Complaint, Wireless lacks knowledge
                    8    or information sufficient to form a belief about the truth of the allegations
                    9    contained in this sentence, and on that basis denies them.
                   10            34. In response to Paragraph 34 of the Complaint, Wireless lacks knowledge
                   11    or information sufficient to form a belief about the truth of the allegations
                   12    contained in this sentence, and on that basis denies them.
                   13            35. In response to Paragraph 35 of the Complaint, Wireless lacks knowledge
                   14    or information sufficient to form a belief about the truth of the allegations
                   15    contained in this sentence, and on that basis denies them.
                   16            36. In response to Paragraph 36 of the Complaint, Wireless lacks knowledge
                   17    or information sufficient to form a belief about the truth of the allegations
                   18    contained in this sentence, and on that basis denies them.
                   19            37. In response to Paragraph 37 of the Complaint, Wireless lacks knowledge
                   20    or information sufficient to form a belief about the truth of the allegations
                   21    contained in this sentence, and on that basis denies them.
                   22            38. In response to Paragraph 38 of the Complaint, Wireless lacks knowledge
                   23    or information sufficient to form a belief about the truth of the allegations
                   24    contained in this sentence, and on that basis denies them.
                   25            39. In response to Paragraph 39 of the Complaint, Wireless lacks knowledge
                   26    or information sufficient to form a belief about the truth of the allegations
                   27    contained in this sentence, and on that basis denies them.
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                    1            40. In response to Paragraph 40 of the Complaint, Wireless lacks knowledge
                    2    or information sufficient to form a belief about the truth of the allegations
                    3    contained in this sentence, and on that basis denies them.
                    4            41. In response to Paragraph 41 of the Complaint, Wireless lacks knowledge
                    5    or information sufficient to form a belief about the truth of the allegations
                    6    contained in this sentence, and on that basis denies them.
                    7            42. In response to Paragraph 42 of the Complaint, Wireless lacks knowledge
                    8    or information sufficient to form a belief about the truth of the allegations
                    9    contained in this sentence, and on that basis denies them.
                   10            43. In response to Paragraph 43 of the Complaint, Wireless lacks knowledge
                   11    or information sufficient to form a belief about the truth of the allegations
                   12    contained in this sentence, and on that basis denies them.
                   13            44. Paragraph 44 of the Complaint contains a legal conclusion to which no
                   14    response is required. To the extent these allegations do require a response,
                   15    Wireless denies them.
                   16            45. Paragraph 45 of the Complaint contains a legal conclusion to which no
                   17    response is required. To the extent these allegations do require a response,
                   18    Wireless denies them.
                   19            46. In response to Paragraph 46 of the Complaint, Wireless lacks knowledge
                   20    or information sufficient to form a belief about the truth of the allegations
                   21    contained in this sentence, and on that basis denies them.
                   22                             RESPONSE TO PRAYER FOR RELIEF
                   23            Wireless denies the allegations in Paragraphs A – H of EEOC’s “Prayer for
                   24    Relief,” except that it admits that EEOC purports to seek certain relief in the
                   25    Complaint.
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                    1                                             DEFENSES
                    2             Wireless asserts the following defenses. In asserting these defenses,
                    3    Wireless does not assume the burden of proof regarding any issue as to which
                    4    applicable law places the burden of proof on EEOC.
                    5                                   FIRST AFFIRMATIVE DEFENSE
                    6                                       (Failure to State a Claim)
                    7             1.     The Complaint, and every claim contained therein, fails to allege facts
                    8    sufficient to state a cause of action against Wireless upon which relief may be
                    9    granted.
                   10                               SECOND AFFIRMATIVE DEFENSE
                   11                                       (Statute of Limitations)
                   12             2.     The Complaint as a whole, and each purported cause of action alleged
                   13    therein, is barred by the applicable statutes of limitation.
                   14                                   THIRD AFFIRMATIVE DEFENSE
                   15                                               (Laches)
                   16             3.     The EEOC’s claims are barred by the doctrine of laches.
                   17                               FOURTH AFFIRMATIVE DEFENSE
                   18                                           (Unclean Hands)
                   19             4.     The EEOC is barred from maintaining the Complaint and each
                   20    purported cause of action therein as a result of its unclean hands with respect to the
                   21    events upon which the Complaint and purported causes of action allegedly are
                   22    based.
                   23                                   FIFTH AFFIRMATIVE DEFENSE
                   24                                               (Waiver)
                   25             5.     The EEOC’s claims are barred by the doctrine of waiver.
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                    1                                   SIXTH AFFIRMATIVE DEFENSE
                    2                                               (Estoppel)
                    3            6.      The EEOC, by reason of its own acts, omissions, representations, and
                    4    courses of conduct, are estopped from asserting and/or have waived any right to
                    5    assert any of the claims alleged in the Complaint against Wireless.
                    6                              SEVENTH AFFIRMATIVE DEFENSE
                    7                                             (No Standing)
                    8            7.      EEOC lacks standing to assert any purported cause of action alleged
                    9    in the Complaint against Wireless.
                   10                                   EIGHTH AFFIRMATIVE DEFENSE
                   11                                          (Settlement/Release)
                   12            8.      The causes of action alleged in the Complaint are subject to
                   13    settlement/release agreements, which constitute a complete or partial bar to the
                   14    present action.
                   15                                   NINTH AFFIRMATIVE DEFENSE
                   16                                     (Res Judicata, Bar, and Merger)
                   17            9.      EEOC is barred by the doctrine of res judicata from asserting the
                   18    Complaint and each purported cause of action therein, in that the matters alleged
                   19    therein were previously litigated and determined.
                   20                                   TENTH AFFIRMATIVE DEFENSE
                   21                                          (Collateral Estoppel)
                   22            10.     The Complaint and each cause of action alleged therein is barred, in
                   23    whole or in part, by the doctrine of collateral estoppel.
                   24                             ELEVENTH AFFIRMATIVE DEFENSE
                   25                                         (Not Proper Defendant)
                   26            11.     Wireless is not a proper defendant and has been improperly named as
                   27    a defendant in this action in that it was never Charging Party’s employer, and
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                    1    therefore cannot be liable as to the claims asserted in the Complaint as a matter of
                    2    law.
                    3                              TWELFTH AFFIRMATIVE DEFENSE
                    4                                   (Failure to Exhaust Conciliation Efforts)
                    5            12.     The Complaint and the purported causes of action alleged therein are
                    6    barred because EEOC has failed to exhaust conciliation efforts.
                    7                           THIRTEENTH AFFIRMATIVE DEFENSE
                    8                                                 (No Injury)
                    9            13.     EEOC is not entitled to relief because it did not suffer any injury.
                   10                           FOURTEENTH AFFIRMATIVE DEFENSE
                   11                                         (Unconstitutional Damages)
                   12            14.     Although Wireless denies that it has committed or has responsibility
                   13    for any act that could support recovery of any damages, including punitive
                   14    damages, against Wireless in this lawsuit, if any, to the extent any such act is
                   15    found, such recovery against Wireless is unconstitutional under numerous
                   16    provisions of the United States Constitution and the California Constitution
                   17    including the Excessive Fines Clause of the Eighth Amendment, the Due Process
                   18    clauses of the Fifth Amendment and Section 1 of the Fourteenth Amendment and
                   19    other provisions of the United States Constitution, the Excessive Fines Clause of
                   20    Section 17 of Article I, the Due Process Clause of Section 7 of Article I and other
                   21    provisions of the California Constitution.
                   22                             FIFTEENTH AFFIRMATIVE DEFENSE
                   23                                           (No Punitive Damages)
                   24            15.     The Complaint and each purported cause of action alleged therein
                   25    fails to allege facts sufficient to allow recovery of punitive or exemplary damages
                   26    from Wireless.
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                    1                             SIXTEENTH AFFIRMATIVE DEFENSE
                    2                            (Wireless is Not Liable for Punitive Damages)
                    3            16.     Wireless is not liable for punitive damages herein because neither
                    4    Wireless nor any of their officers, directors, or managing agents committed any
                    5    alleged oppressive, fraudulent, or malicious acts, authorized or ratified such an act,
                    6    had advance knowledge of the unfitness, if any, of the employee or employees, if
                    7    any, who allegedly committed such acts, or employed any such employee or
                    8    employees with a conscious disregard of the rights or safety of others.
                    9                          SEVENTEENTH AFFIRMATIVE DEFENSE
                   10                                         (Lack of Damages)
                   11            17.     EEOC has not suffered any damages as a result of any actions taken
                   12    by Wireless or their agents, and EEOC is therefore barred form asserting any cause
                   13    of action against Wireless.
                   14                           EIGHTEENTH AFFIRMATIVE DEFENSE
                   15                              (Independent Intervening Cause, Fault of Others)
                   16            18.     If EEOC sustained injuries or damages, which Wireless denies, the
                   17    alleged injuries and damages, if any, were caused solely by the acts, wrongs, or
                   18    omissions of other persons, entities, preexisting conditions, forces, and/or things
                   19    over which Wireless had no control and for which Wireless is not responsible.
                   20                           NINETEENTH AFFIRMATIVE DEFENSE
                   21                                       (Third Party Liability)
                   22            19.     Wireless alleges on information and belief that if Wireless has any
                   23    liability herein, which it does not, it is due solely to the actions or omissions of
                   24    third parties who should be determined fully responsible for any and all violations
                   25    EEOC alleges against Wireless in the Complaint.
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                    1                            TWENTIETH AFFIRMATIVE DEFENSE
                    2                                         (Attorneys’ Fees)
                    3            20.     The Complaint fails to allege facts sufficient to establish a claim for
                    4    attorneys’ fees and/or costs.
                    5                          TWENTY-FIRST AFFIRMATIVE DEFENSE
                    6                                        (Special Damages)
                    7            21.     EEOC has failed to specifically allege special damages. Accordingly,
                    8    EEOC is not entitled to recover such damages.
                    9                        TWENTY-SECOND AFFIRMATIVE DEFENSE
                   10                        (Equitable and/or Injunctive Relief Not Appropriate)
                   11            22.     EEOC is not entitled to any equitable or injunctive relief as prayed for
                   12    in the Complaint because EEOC has suffered no irreparable injury based on any
                   13    alleged conduct of Wireless and EEOC has an adequate remedy at law for any such
                   14    alleged conduct.
                   15                                   RESERVATION OF DEFENSES
                   16            Wireless has not knowingly or intentionally waived any applicable
                   17    affirmative defenses and reserves the right to assert and rely on such other
                   18    applicable defenses as they may become available or apparent during discovery
                   19    proceedings. Wireless further reserves the right to amend this answer and/or
                   20    affirmative defenses accordingly and/or to delete affirmative defenses that
                   21    Wireless determines through the court of subsequent discovery are not applicable.
                   22                                            PRAYER
                   23            Wherefore, Wireless prays for the following relief:
                   24            1.      That the Complaint be dismissed with prejudice in its entirety and that
                   25    judgment be entered for Wireless and against EEOC on the Complaint;
                   26            2.      EEOC be awarded nothing on its Complaint;
                   27            3.      The Court award Wireless its costs of suit, including attorneys’ fees;
                   28    and
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                    1            4.      The Court award such other relief as is just and equitable.
                    2                                   DEMAND FOR JURY TRIAL
                    3            Under Federal Rule of Civil Procedure 38(b), Wireless demands a trial by
                    4    jury on all issues so triable.
                    5
                    6    DATED: August 15, 2023               STRADLING YOCCA CARLSON & RAUTH
                                                              A PROFESSIONAL CORPORATION
                    7
                    8
                                                              By: /s/ Karla Kraft
                    9                                             Karla Kraft
                                                                  Victoria McLaughlin
                   10                                             Attorneys for Defendant
                                                                  Wireless World LLC
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